            Case 4:98-cr-40104-JPG                      Document 286 Filed 11/02/10                              Page 1 of 4                 Page ID
~.AO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations #153
             Sheet 1
                                                                                                                                       FIL.ED
                                      UNITED STATES DISTRICT COURT
                                                                                                                                       NOV 02 2010
                                                      Southern District ofIllinois                    CLERK U S 0
                                                                      4n/p/~Ej)                     SOUTHERN 'Dis:~~~~ c;ouRT
          UNITED STATES OF AMERICA                                   jil'tigment in a Criminal Case        BENTON OFFICE U'NO'S
                              v.                                     (For Revocation of Probation or Supervised Release)
                       RICK HARRE

                                                                     Case No. 4:98CR40104-006
                                                                     USM No. 04646-025
                                                                       Melissa A. Day, AFPD
                                                                                                             Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)       as alleged below          of the term of supervision.
o was found in violation of condition(s)            _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.

The defendant is adjudicated guilty of these violation.:


Violation Number              Nature of Violation                                                                        Violation Ended
Standard # 9                       The defendant associated a convicted felon                                            08/06/2010

                                                                                                   111 ,1:
                                                                                             '1"""I1.,
                                                                                         :,) ).

Special                            The defendant failed to abstain from alcohol consumption                             08/05/2010
                                                                                    I,
                                                                                                                        I I   I    ,


       The defendant is sentenced as provided in pages 2 through _.--..:4:!....._                                  The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition .
         It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any
change ofnarne, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. )f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economIC circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0388                   11/02/2010
                                     i'?t:;y                                                                                           ent
Defendant's Year of Birth :          ~

City and State of Defendant's Residence:                                                                      Signature of Judge
Brownstown, IL 62418
                                                                      J. Phil Gilbert                                              District Judge
                                                                       G",~t1e                                            ofludge

                                                                       :Ll~2,4/c2
                                                                             Date
                Case 4:98-cr-40104-JPG                       Document 286 Filed 11/02/10          Page 2 of 4        Page ID
 AO 245D        (Rev. 12/07) Judgment in a Criminal Case: for Revocations #154
                Sheet 2- Imprisonment

                                                                                                 Judgment - Page _:;;.2_ of      4
 DEFENDANT: RICK HARRE
 CASE NUMBER: 4:98CR40104-006


                                                            IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of:
1 day




      o The court makes the following recommendations to the Bureau of Prisons:



      rI The defendant is remanded to the custody oflhe United States Marshal.
        o The defendant shall surrender to the United States Marshal for this district:
          o at _ _ _ _ _ _ _ _ _ 0 a.m. 0 p.m. on
          o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by Ihe United States Marshal.
            o    as notified by the Probation or Pretrial Services Office.

                                                                  RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                   to _ _ _ _ _ _ _ _ _ _ _ _ _ __

 at     _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL


                                                                        By _____~~~~~~=_~~_ _- - - - - - - - -
                                                                                          DEPUTY UNITED STATES MARSHAL
                Case 4:98-cr-40104-JPG                       Document 286 Filed 11/02/10               Page 3 of 4            Page ID
    AO 245D     (Rev. 12107) Judgment in a Criminal Case for Revocations #155
                Sheet 3 -   Supervised Release

                                                                                                      Judgment-Page      3      of        4
    DEFENDANT: RICK HARRE
    CASE NUMBER: 4:98CR40104-oo6
                                                          SUPERVISED RELEASE

~ Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 60 months



             The defendant must rep<>rt to the probation office in the district to which the defendant is released within 72 hours of release
    from the custody of the Bureau of Prisons.
    The defendant shall not commit another federal, state or local crime.
    The defendant shall not unlawfully p<>ssess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
    substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
    tests thereafter as determined by the court.
    o     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
    rt The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
    "     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
    o     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
          or is a student, as directed by the probation officer. (Check, if applicable.)
    o     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
             If this judgJ)lent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
    with the Schedule of Paymen Is sheet of this judgment.
             The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
    conditions on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION
    1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
              five days of each month;
    3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
              officer;
    4)        the defendant shall support his or her dependents and meet other family responsibilities;
    5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
              or other acceptable reasons;
    6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
              controlled substance or any parapheroalia related to any controlled substances, except as prescribed by a physician;
    8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
              convicted of a felony, un less granted permIssion to do so by the probation officer;
    10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
              confiscation of any contraband observed in plain view of the probation officer;
    II)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
              enforcement officer;
    12)       the defendant sh~1 !lot enter into any agreement to act as an informer or a special agent of a law enforcement agency
              Without the pemllSSlOn of the court; and
    13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
              defendant'S criminal record or personal history or characteristics ana shall permit the probation officer to make such
              notifications and to confirm the defendant' s compliance with such notification requirement.
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 AO 2450                                                          #156
           (Rev. 12107) Judgment in a Criminal Case: for Revocations
           Sheet 3C -   Supervised Release

                                                                                       Judgment-Page   _4_ of _ _4~_
 DEFENDANT: RICK HARRE
 CASE NUMBER: 4:98CR40104-006

                                             SPECIAL CONDITIONS OF SUPERVISION

X The detendant shall be placed on electronic monitoring and alcoholic monitoring as directed by probation.


X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation otticer in
treatment tor narcotic addiction , drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures and which may require residence andlor participation in a residential treatment facility. Any
participation will require complete abstinence from all alcoholic beverages. The defendant shall pay tor the costs
associated with substance abuse counseling andl or testing based on a copay sliding fee scale approved by the United
States probation Ottice . Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
in a one year period.

X The defendant shall not consume any alcohol while on supervised release.
